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                                                  UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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                        CAROL EDWARDS, an individual.          Case No. 8:21-cv-00346 CJC (DFMx)
                12
                                     Plaintiff,                ORDER RE DISMISSAL OF ENTIRE
                13                                             ACTION AS TO ALL PARTIES
                              v.
                14
                        ATOS, a business entity, form          Complaint Filed: December 30, 2020
                15 unknown; and DOES 1 through 20,             Trial Date:       August 1, 2022
                        inclusive.                             District Judge: Hon. Cormac J. Carney
                16                                             Magistrate Judge: Hon. Douglas F.
                                     Defendants.                                 McCormick
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1 Proposed Order
Re Stipulation Re




                                                                           Case No. 8:21-cv-00346 CJC (DFMx)
                              ORDER RE DISMISSAL OF ENTIRE ACTION AS TO ALL PARTIES
           Case 8:21-cv-00346-CJC-DFM Document 17 Filed 10/26/21 Page 2 of 2 Page ID #:131



                    1         Pursuant to the Stipulation Re: Dismissal of Entire Action as to All Parties under
                    2   Federal Rule of Civil Procedure Section 41(a), IT IS ORDERED THAT THIS
                    3   ACTION BE, AND HEREBY IS, DISMISSED WITH PREJUDICE, as to all claims,
                    4   causes of action, and parties, which each bearing their own attorneys’ fees and costs.
                    5   The clerk is directed to close file.
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                    9   Dated: October 26, 2021                _________________________________
                                                               Hon. Cormac J. Carney
                10                                             United States District Judge
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                                                        1          Case No. 8:21-cv-00346 CJC (DFMx)
                              ORDER RE DISMISSAL OF ENTIRE ACTION AS TO ALL PARTIES
